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   9
                      IN THE UNITED STATES DISTRICT COURT
  10                FOR THE CENTRAL DISTRICT OF CALIFORNIA
  11

  12 BILL SCHEPLER and ADRIAN                     )
                                                  )       CIVIL ACTION NO. 2:18-cv-6043-
     GARCIA, On Behalf of                         )       GW-AFM
  13
     Themselves and All Others                    )
  14 Similarly Situated,                          )
                                                  )
  15                         Plaintiffs,          )       THIRD AMENDED CLASS
                                                  )       ACTION COMPLAINT
  16                 vs.                          )
                                                  )
  17   AMERICAN HONDA MOTOR                       )
       CO., INC.,                                 )       JURY TRIAL DEMANDED
  18                                              )
                             Defendant.           )
  19                                              )
  20
              Plaintiffs, Bill Schepler (“Schepler”) and Adrian Garcia (“Garcia”)
  21
       (collectively, “Plaintiffs”), by and through their attorneys, file this action on
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       behalf of themselves and all others similarly situated against Defendant,
  23
       American Honda Motor Co., Inc. (“Defendant” or “Honda”), and allege as
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       follows:
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                                    NATURE OF THE ACTION
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              1.     Plaintiffs brings this action individually and on behalf of a
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       proposed Illinois class and a proposed California class (more fully defined
  28
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   1   below) for the benefit and protection of purchasers and lessees of Defendant’s
   2   model years 2017 and 2018 Honda CR-Vs (“CR-V(s)” or “Vehicles”). As
   3   alleged herein, Defendant deceptively markets and advertises the CR-V as
   4   having a seating capacity of five and having, as one of its passive safety
   5   features, 3-point seat belts at all seating positions when, in fact, it does not,
   6   because if there are three adult passengers or even a single car seat in the back
   7   seat of the CR-V, the three passengers cannot simultaneously buckle their seat
   8   belts safely, in direct contradiction to Defendant’s marketing and
   9   advertisements, owner’s manual and warranty. Further, the utilization of a car
  10   seat can compromise the ability to maintain the buckled status of the belts. This
  11   causes a safety issue as it prevents customers from safely seating five people in a
  12   CR-V at any given time.
  13          2.     At all relevant times, Defendant has deceptively marketed,
  14   advertised, and sold the CR-Vs as vehicles with a seating capacity of five with
  15   3-point seat belts at all seating positions, when, in fact, the three backseat seat
  16   belts cannot safely and without overlap be used simultaneously, with the use of
  17   even one car seat.
  18          3.     Plaintiffs bring this action on behalf of themselves and all other
  19   similarly-situated consumers to stop Defendant’s false and misleading
  20   advertising relating to the sale and lease of the CR-Vs and to obtain redress for
  21   those who have purchased CR-Vs across the United States. Schepler alleges
  22   violations of the Illinois Consumer Fraud and Deceptive Business Practice Act,
  23   815 ILCS 505/1, et seq. (“ICFDBPA”), and breach of warranty under Illinois
  24   law on behalf of the proposed Illinois class. Garcia alleges violations of the
  25   California Consumers Legal Remedies Act, Civil Code § 1750, et seq.
  26   (“CLRA”); the Unfair Competition Law, California Business and Professions
  27   Code § 17200, et seq. (“UCL”); and the False Advertising Law, California
  28   Business and Professions Code § 17500, et seq. (“FAL”), and breach of
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   1   warranty under California law on behalf of the proposed California class.
   2                              JURISDICTION AND VENUE
   3          4.     This Court has subject matter jurisdiction under 28 U.S.C.
   4   § 1332(d)(2)(A) because the claims relating to the matter in controversy exceed
   5   $5 million, exclusive of interest and costs, the proposed classes have at least 100
   6   members, and this is a class action in which certain of the class members
   7   (including Plaintiff) and Defendant are citizens of different states.
   8          5.     Venue is proper in this judicial District under 28 U.S.C. § 1391
   9   because Defendant is a resident of this judicial District and does business
  10   throughout this District and a substantial part of the acts and omissions giving
  11   rise to Plaintiff’s claims occurred in or emanated from this District.
  12          6.     At all pertinent times, Defendant was engaged in the marketing,
  13   advertisement, and sale of CR-Vs, which are the subject of this lawsuit, in this
  14   District and throughout the United States.
  15                                         PARTIES
  16          7.     Schepler is, and, at all times relevant to this action has been, a
  17   resident of Sycamore, Illinois, and, thus, is a citizen of Illinois.
  18          8.     Garcia is, and, at all times relevant to this action has been, a
  19   resident of Dinuba, California, and, thus, is a citizen of California.
  20          9.     Defendant is a North American subsidiary of Honda Motor
  21   Company, Ltd., and was founded in 1959. Defendant is headquartered in
  22   Torrance, California, and, thus, is a citizen of California. Defendant markets
  23   and sells the CR-Vs throughout the United States, including in this District.
  24                          SUBSTANTIVE ALLEGATIONS
  25          10.    This is an action brought against Defendant on behalf of Plaintiffs
  26   and all persons who purchased or leased a CR-V in Illinois or California.
  27          11.     The CR-V is a crossover SUV and is Defendant’s mid-range utility
  28   vehicle, originally introduced into the North American market in 1997.
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   1          12.     Defendant deceptively markets and advertises the CR-V as having a
   2   seating capacity of five with 3-point seat belts at all seating positions.1
   3          13.     On November 30, 2016, Defendant issued a press release regarding
   4   the specifications and features of the model year 2017 CR-V, which listed a
   5   seating capacity of five. 2
   6          14.     The model year 2017 CR-V was substantially redesigned and re-
   7   engineered from the previous model, but the model year 2018 CR-V was
   8   essentially unchanged from the 2017 model. 3 The backseat seat belt buckle
   9   configuration was among the features that remained the same between the 2017
  10   and 2018 models.
  11          15.     Defendant published a brochure advertising the features and
  12   benefits of the 2018 CR-V, which included a description of the vehicle as having
  13   “[e]xcellence in every detail,” including “spacious seating for five.” 4
  14          16.     One feature of a vehicle that all consumers are aware of prior to
  15   purchasing or leasing a vehicle is its advertised seating capacity.
  16          17.     The 2017 CR-V Owner’s Guide and 2018 Owner’s Manual (the
  17   “Manual(s)”) each contain entire sections dedicated to the seat belt features of
  18   the CR-V. 5 Both Manuals specifically state that “[a]ll five seating positions are
  19   1
         Model information, http://owners.honda.com/vehicles/information/2018/CR-V/specs#mid^
       RW1H5JJW (listing the specifications for the 2018 Honda CR-V, including passive safety features)
  20   (last visited July 10, 2018).
  21   2
        Honda, 2017 Honda CR-V Press Kit Specifications & Features, http://hondanews.com/releases/2017-
       honda-cr-v-press-kit-specifications-features?page_size=60&page=5 (last visited July 10, 2018).
  22
       3
        See Car and Driver, 2018 Honda CR-V, https://www.caranddriver.com/reviews/2018-honda-cr-v-in-
  23   depth-model-review (last visited July 10, 2018).
  24   4
          2018 CR-V Brochure at 4 (available for download at https://automobiles.honda.com/cr-
       v?from=crv.honda.com#) (last visited July 10, 2018).
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       5
        See CR-V 2017 Owner’s Guide, http://techinfo.honda.com/rjanisis/pubs/QS/AH/ATLA1717OG/enu/
  26   ATLA1717OG.PDF at 5-8 (last accessed October 11, 2018 [hereinafter “2017 Guide”]; CR-V 2018
       Owner’s Manual,
  27   http://techinfo.honda.com/rjanisis/pubs/QS/AH/ATLA1818OG/enu/ATLA1818OG.PDF at 40-48 (last
       accessed July 10, 2018 [hereinafter, “2018 Manual”].
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   1   equipped with lap/shoulder seat belts with emergency locking retractors.”6 The
   2   Manuals also provide instructions on how to fasten a seat belt by “[i]nsert[ing]
   3   the latch plate into the buckle” and warn to “[m]ake sure that the belt is not
   4   twisted or caught on anything.” 7 Further, the specifications of the Vehicle
   5   promise and warrant that it has a capacity of five, with two passengers in front
   6   and three passengers in back.
   7             18.     Honda recognizes the utter necessity of the proper use of seat belts
   8   in its Vehicles and provides the following “warnings” in its Manual: 1) “Not
   9   wearing a seat belt properly increases the chance of a serious injury or death in a
  10   crash, even though your vehicle has airbags. Be sure you and your passengers
  11   always wear seat belts and always wear them properly;” and 2) “Make sure all
  12   seatbelts are properly positioned before driving.” 8
  13             19.     Honda also recognizes that the CR-V will be used to hold children
  14   in car seats in the rear seats, which it states is the “safest place for a child,” and,
  15   in fact, provides, inter alia, the following warnings in its Manual: 1) “Children
  16   who are unrestrained or improperly restrained can be seriously injured or killed
  17   in a crash;” and 2) “Always place a rear-facing child seat in the rear seat, not the
  18   front.”9
  19             20.     The CR-V provides two methods of installing a child seat, using a
  20   LATCH-Compatible seat or using the lap/shoulder belt. The 2017 Manual
  21   provides that LATCH -Compatible seats can be installed at any of the rear seat
  22   positions.10 However, according to the 2018 Manual, the CR-V will only allow a
  23
       6
           2017 Guide at 8; 2018 Manual at 40.
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       7
           2017 Guide at 10; 2018 Manual at 7.
  25
       8
           2017 Guide at 8-10; 2018 Manual at 5-7.
  26
       9
           2017 Guide at 18-21; 2018 Manual at 15-17.
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       10
           2017 Guide at 21.
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   1   LATCH-Compatible seat to be installed in either of the two outer rear seats (but
   2   not the middle rear seat), while a child seat using the lap/shoulder belt can be
   3   installed in any rear seat.11
   4             21.     From the early days of child restraint regulations, the center rear
   5   seat position has been considered the safest place in the car, since it is farthest
   6   from the exterior of the vehicle and therefore furthest from impact and intrusion
   7   from any direction. If there are two other passengers in the back seat however,
   8   that safety configuration is not available in the Honda CR-V.
   9             22.     Further, when child seats are installed in the rear outboard occupant
  10   positions, the middle passenger must somehow squeeze between the two child
  11   seats and then attempt to buckle their seat belt. Insertion of the center rear latch
  12   plate into the buckle is extremely difficult due to the lack of lateral space for the
  13   center rear occupant. Additionally, access to this buckle to release it in the event
  14   of a vehicle fire, water immersion, or vehicle crash would be extremely difficult
  15   for the occupant and likely impossible for others trying to release the occupant
  16   under these, or other, emergency conditions.
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            2018 Manual at 18-19.
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   1             23.    Plaintiffs were deceived and reasonable consumers could be
   2   deceived and were deceived, as to the Vehicle’s actual capacity when having at
   3   least one child seat in the rear seat of the Vehicle. This was and is, a material
   4   fact for Plaintiffs and their respective proposed classes.
   5             24.    Honda’s creation of, and false representations and omissions about,
   6   the situation where the seat belt cannot be worn, because it is not accessible or is
   7   otherwise blocked by the existence of a child seat in the Vehicle, is a breach of
   8   its warranty that states that Defendant is providing a five-seater car that actually
   9   has five usable, safe seats.
  10             25.    The CR-Vs are covered by a three-year, 36,000-mile warranty,
  11   under which Defendant will repair or replace any part that is defective in
  12   material or workmanship under normal use.12
  13             26.    The CR-Vs are also covered by a Seat Belt Limited Warranty that
  14   continues for 15 years or 150,000 miles and states that: “While seat belts cannot
  15   completely remove the possibility of injury, they do provide a very significant
  16   level of protection when used properly. Honda believes the best way to enhance
  17   your safety is to use your seat belt. To encourage their use, the seat belts should
  18   always be in good operating condition.”13
  19             27.    However, despite stating that it encourages seat belt use and
  20   warranting that it will “repair or replace” (including the parts and labor charges)
  21   any Honda seat belt component that “fails to function properly during normal
  22   use,” Honda sells its CR-V knowing that if there is a car seat in the rear, there
  23   cannot be two other passengers safely buckled into the rear seat belts as
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       12
         Warranty Booklet for 2017 CR-V at 9,
  25   http://owners.honda.com/Documentum/Warranty/Handbooks/AWL_02971_2017_Honda_Warranty_B
       asebook__KA__FINAL.pdf [2017 Warranty Booklet] (last visited July 10, 2018); Warranty Booklet
  26   for 2018 CR-V at 9,
       http://owners.honda.com/Documentum/Warranty/Handbooks/2018_Honda_Warranty_Basebook_AW
  27   L05251_FINAL.pdf (last visited July 10, 2018) (collectively hereinafter, “Warranty Booklets”).
  28   13
            2017 Warranty Book at 28.
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   1   warranted by Honda, and that the seat belts cannot, and do not, function properly
   2   during this normal use. Specifically, Honda omits to state the material fact that
   3   it is impossible for the anchor buckle and rear driver’s-side passenger’s buckle
   4   to be utilized at the same time, without both seat belts overlapping, twisting,
   5   and/or catching. Despite requests by Plaintiffs and members of the proposed
   6   classes, Defendant admits that it cannot repair or replace the seatbelts.
   7   Defendant’s action, in failing to repair a known seatbelt defect, which defect it
   8   knows actually discourages seatbelt use, and is therefore a safety hazard,
   9   constitutes a breach of the Limited Warranty and the Seatbelt Limited Warranty.
  10             28.     The CR-V backseat seat belts are deployed such that the rear
  11   driver’s-side seat belt and rear passenger’s-side seat belt are retractable to the
  12   side of the Vehicle nearest the passenger’s shoulder. The seat belt for the rear
  13   middle seat, however, is a seat belt with a detachable anchor, which retracts into
  14   the ceiling of the Vehicle. 14 There is an “anchor buckle” to the middle
  15   passenger’s left wherein a small latch plate may be buckled. The passenger may
  16   then proceed to fasten the seat belt normally, inserting the large latch plate into
  17   the buckle to the passenger’s right. The following images and instructions from
  18   the 2017 Guide illustrate: 15
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  27   14
            See 2017 Guide at 11; 2018 Manual at 46.
  28   15
            2017 Guide at 11.
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  15          29.    However, the configuration of the buckles is such that the middle
  16   passenger’s anchor buckle is to the left of the rear driver’s-side passenger’s
  17   buckle, rendering it impossible for the anchor buckle and rear driver’s-side
  18   passenger’s buckle to be utilized at the same time, without both of the seat belts
  19   overlapping, twisting, and/or catching. As seen in the picture of Plaintiff’s CR-
  20   V’s backseat below, the rear driver’s-side passenger’s buckle is located closest
  21   to the middle seat passenger, while the middle seat passenger’s anchor buckle is
  22   located closest to the rear driver’s-side passenger:
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  12          30.    Therefore, the middle seat passenger is unable to secure the small
  13   latch plate in the anchor buckle without causing the seat belt to get caught on,
  14   overlap with or become twisted with the seat belt of the rear driver’s-side
  15   passenger, which contradicts Honda’s own safety warnings in its Manuals.
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   1          31.    Further, if there is a car seat in use, three passengers cannot safely
   2   sit in the rear. The CR-V’s narrow anchorage points for seat belts limit the
   3   ability to properly and safely use them to install various types of child seats or
   4   child restraints without obstructing access to the left outboard buckle. For
   5   example, when a car seat is installed using lower anchorages in the center rear
   6   occupant position (which was allowed per the 2017 Manual), there is no easy
   7   access to the Vehicle’s adjacent seat belt buckles.
   8          32.    A child seat in the center position either partially or completely
   9   blocks access to the left outboard buckle. This prevents the left rear seat belt
  10   from being worn in some cases or makes it difficult to buckle, as illustrated by
  11   the following:
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   1          33.    Due to the position of the left rear seat belt’s buckle some of the
   2   rear bottom corners of child seats installed in the center rear could compress the
   3   left rear buckle’s push button and cause the buckle to release the latch plate, as
   4   illustrated by the following:
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  13          34.    When the J1819 fixture is buckled in the center seat, there is no
  14   room to access the seat belts, as illustrated by the following:
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       2:18-cv-6043-GW-AFM     Third Amended Class Action Complaint                      13
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   1       35.   With child seats installed in the outboard positions, there is only seven
   2   inches of clearance between the two child seats for the center rear
   3   occupant. This is clearly insufficient and unsafe, as illustrated by the following:
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  14             36.    As a result, Plaintiffs and members of the proposed classes cannot
  15   safely transport three passengers in the backseat of the CR-Vs.
  16             37.    This situation prevents CR-V passengers from complying with the
  17   safety warnings about the use of carseats and seat belts in the Manuals and
  18   presents a safety hazard to passengers in the backseat of the CR-Vs.
  19             38.    Accordingly, Defendant’s advertised statements that the CR-V has
  20   a seating capacity of five with 3-point seat belts at all seating positions are false
  21   and deceptive.16
  22   Plaintiffs’ Experiences With Their CR-Vs
  23             Schepler
  24             39.    On or about December 19, 2017, Schepler purchased a model year
  25   2018 CR-V from Brian Bemis Honda Mercedes Benz Volvo in Sycamore,
  26   Illinois, an authorized agent of Defendant (the “Illinois Dealership”). One of the
  27   reasons Schepler purchased the CR-V was the fact that he has five grandchildren
  28   16
            See Model Information, supra note 1.
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   1   and he wanted a vehicle with a seating capacity of five so that he and his wife
   2   could safely transport their family, including their grandchildren in their car
   3   seats.
   4            40.   Prior to purchase, on November 30, 2017, Schepler reviewed an
   5   online brochure published by Defendant, titled MY_18_CR-
   6   V_Brochure_Online_Mech1, which, among other things, touted the Vehicle’s
   7   safety and represented that the CR-V had “spacious seating for five” and “seats
   8   five comfortably.”
   9            41.   Soon after purchase, Schepler realized that the rear driver’s-side
  10   seat belt buckle was “backward” and that the rear driver’s-side passenger could
  11   not buckle his or her seat belt without overlapping the middle passenger’s
  12   anchor buckle.
  13            42.   Concerned for the safety of his backseat passengers, Schepler took
  14   his CR-V to the Illinois Dealership on May 10, 2018, for the Illinois
  15   Dealership’s recommendation on how to address or repair the issue.
  16            43.   The Illinois Dealership photographed the buckle configuration and
  17   sent that picture to Defendant along with an explanation that the CR-V “cannot
  18   have three rear passengers in the backseat at the same time per Honda rep.” The
  19   Dealership also noted that the seat belts overlap and twist, which poses a “safety
  20   concern per the owner’s Manual.” A copy of the service invoice is attached
  21   hereto as Exhibit 1.
  22            44.   Defendant did not repair the seatbelts or otherwise correct the
  23   defect in the CR-V in order to permit Schepler to safely seat three backseat
  24   passengers, including in child seats, simultaneously, and refuses to do so.
  25            45.   Schepler would not have purchased the CR-V, or would not have
  26   paid the purchase price that he did, had he known that he would not be able to
  27   use the CR-V’s full seating capacity and would not be able to safely transport
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   1   three passengers, including with car seats, simultaneously in the backseat of his
   2   CR-V.
   3         Garcia
   4          46.    On or about March 3, 2018, Garcia purchased a model year 2018
   5   CR-V from Clawson Honda in Fresno, California, an authorized agent of
   6   Defendant (the “California Dealership”). One of the reasons Garcia purchased
   7   the CR-V was the fact that he has two young children using car seats, and he
   8   wanted a vehicle with a three-passenger seating capacity in the rear so that either
   9   he or his wife could sit with and tend to the children while in transit.
  10          47.    Prior to purchase, Garcia reviewed Defendant’s representations
  11   regarding the CR-V’s five-person seating capacity on Defendant’s website and
  12   at the California Dealership.
  13          48.    Soon after purchase, Garcia also realized that the rear driver’s-side
  14   seat belt buckle was “backward” and that the rear driver’s-side passenger could
  15   not buckle his or her seat belt without overlapping the middle passenger’s
  16   anchor buckle.
  17          49.    Concerned with the inability to safely seat a third passenger, Garcia
  18   took his CR-V to the California Dealership on or about April 10, 2019, for the
  19   California Dealership’s recommendation on how to address or repair the issue.
  20          50.    The California Dealership inspected Garcia’s CR-V but “could not
  21   confirm any installed buckles that are incorrect” after “check[ing] some model
  22   vehicle 2018” and finding “the buckles are the same.” A copy of the service
  23   invoice is attached hereto as Exhibit 2.
  24          51.    On or about June 6, 2019, Garcia sent a letter to Defendant
  25   informing it of the issues. Defendant did not repair the seatbelts or otherwise
  26   correct the defect in the CR-V in order to permit Garcia to safely seat three
  27   backseat passengers, including in child seats, simultaneously, and refuses to do
  28   so.
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   1          52.    Garcia would not have purchased the CR-V, or would not have paid
   2   the purchase price that he did, had he known that he would not be able to use the
   3   CR-V’s full seating capacity and would not be able to safely transport three
   4   passengers, including with car seats, simultaneously in the backseat of his CR-
   5   V.
   6          53.    Plaintiffs continue to be presented with Honda’s representations
   7   about its vehicles, including the CR-Vs. Plaintiffs desire to purchase and use a
   8   Honda vehicle that is suitable for safely transporting three passengers, including
   9   those in car seats, in the back seat, and would purchase a sports utility vehicle
  10   from Honda that really can transport three passengers, including those in car
  11   seats, safely in the back seat. Schepler’s desire is based on the number of his
  12   grandchildren and need to transport all of them safely, while Garcia’s desire is
  13   based on the number of his children and need to transport all of them safely.
  14          54.    Given Defendant’s misrepresentations and omissions, however,
  15   Plaintiffs have no way to determine whether any of Honda’s representations
  16   about the actual seating capacity of the CR-V, or any of its other vehicles, are, in
  17   fact, true.
  18         Class Members’ Experiences With the CR-Vs
  19          55.    Plaintiffs’ experiences mirror those of numerous other CR-V
  20   purchasers. The internet contains numerous complaints from owners who, like
  21   Plaintiffs, were unable to safely seat all three backseat passengers
  22   simultaneously, including when using a car seat, because the seat belts caught,
  23   overlapped and twisted. The following is a sample of complaints appearing in
  24   several online forums:
  25
              Just picked my wife’s new 2017 CRV Touring on 1/14/2017 and have
  26
              issues with the 2nd row seating. The 2nd row center seat belt detachable
  27          anchor point and 2nd row left seat belt buckle seem to be crossed in the
              lower seat. Is this a mfg. error or poor design makes it difficult for the left
  28
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              seat passenger to connect or disconnect their seat belt with the center
   1
              passenger buckled in. Took the CRV back to the dealer today and they
   2          checked a number of 2017 CRV’s on the lot and they are all the same,
              crossed over. Dealer told me they would contact Honda’s support center
   3
              and let me know in a few days. Seems like a NTSB safety recall or Honda
   4          TSB is needed to correct the issue. Has anyone heard back from Honda on
              the issue? I missing the reason for the crossed over design?
   5

   6                 Posted by Ken R. on January 16, 2017 on
                     http://www.crvownersclub.com/forums/27-miscellaneous-
   7
                     general-cr-v-discussions/129081-2017-crv-2nd-row-center-seat-
   8                 belt-detachable-anchor-issue.html (last visited July 10, 2018).
   9
              My brand new 2017 CRV touring appears to have the detachable anchor
  10          for the 2nd row center seat belt crossed with the 2nd row left seat belt
              buckle. This configuration causes the center belt and the left seat belt to
  11
              cross one another and also makes it difficult for the left seat passenger to
  12          connect or disconnect their seat belt with the center passenger buckled in.
  13
              This configuration does not allow the person sitting behind the driver to
              wear their seat belt when my child’s infant seat is buckled into the center
  14          as the buckle cannot be accessed. This is a huge safety concern as I travel
  15
              frequently with my infant daughter, son, and son’s friend in the back seat.
              There have been multiple other complaints about this which can be
  16          googled. Something needs to be done here.
  17
                     Posted by an anonymous CR-V owner in Verona, WI on
  18                 January 26, 2017 on
  19                 https://www.carcomplaints.com/Honda/CR-
                     V/2017/seat_belts_air_bags/seat_belts.shtml (last visited July
  20                 10, 2018).
  21
              The contact owns a 2017 Honda CR-V. [W]hile attempting to use the rear
  22          passenger side seat belt, it was discovered that in order to latch and secure
  23          the buckle, the belt had to under lap the rear seat center belt. The issue
              made it very difficult to lock and unlock the seat belt. The vehicle was
  24          taken to the dealer ([A]utonation Honda in [W]estminster, [CO]), but the
  25          cause of the failure was unable to be determined. The manufacturer was
              notified of the failure. The failure mileage was 6,000.
  26

  27                 Posted by an anonymous CR-V owner in Frederick, CO on
                     May 1, 2017 on https://www.carcomplaints.com/Honda/CR-
  28
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                     V/2017/seat_belts_air_bags/seat_belts.shtml (last visited July
   1
                     10, 2018).
   2
              I have the same issue. The dealer told me it’s correct. But my passengers
   3
              can’t buckle in.
   4
                     Posted by teresalies on May 10, 2017 on
   5
                     http://www.crvownersclub.com/forums/27-miscellaneous-
   6                 general-cr-v-discussions/129081-2017-crv-2nd-row-center-seat-
                     belt-detachable-anchor-issue.html (last visited July 10, 2018).
   7

   8          The rear left and middle seat belts overlap. The vehicle is advertised as a
              5 seater vehicle but cannot safely be used for 5 passengers, or with a car
   9
              seat in either of those seats with a passenger in the other one.
  10

  11
                     Posted by an anonymous CR-V owner in Los Angeles, CA on
                     May 13, 2017 on https://www.carcomplaints.com/Honda/CR-
  12                 V/2017/seat_belts_air_bags/seat_belts.shtml (last visited July
  13
                     10, 2018).

  14          Where left rear passenger attaches seat belt & where center rear passenger
  15
              attaches seatbelt from headliner, the fasteners in the seat are switched. If
              center passenger buckles up first or if carseat is in center position it is
  16          nearly impossible for left rear passenger to buckle up or unbuckle. This is
  17
              due to the attachment points being switched when designed [and/]or
              manufactured. Honda dealer says the connections are in proper location &
  18          belt is operating as designed. This will most likely cause one of five
  19
              passengers in this vehicle to not be able to buckle up or unbuckle in an
              emergency[.]
  20

  21                 Posted by an anonymous CR-V owner in Baytown, TX on May
                     25, 2017 on https://www.carcomplaints.com/Honda/CR-
  22                 V/2017/seat_belts_air_bags/seat_belts.shtml (last visited July
  23                 10, 2018).

  24          I just picked mine up last week and my 8 year old pointed out the seatbelt
  25          configuration. The dealer said that they were all like that but weren’t sure
              why.
  26

  27                 Posted by mattkc2016 on October 18, 2017 on
                     http://www.crvownersclub.com/forums/27-miscellaneous-
  28
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                     general-cr-v-discussions/129081-2017-crv-2nd-row-center-seat-
   1
                     belt-detachable-anchor-issue.html (last visited July 10, 2018).
   2
              2018 is still configured this way. How in the heck is it possible to correct
   3
              this issue? This is supposed to be a five passenger vehicle but the belt
   4          layout just about makes that impossible. Honda needs to come up with a
              solution to this problem.
   5

   6                 Posted by Rudyjr on March 6, 2018 on
                     http://www.crvownersclub.com/forums/27-miscellaneous-
   7
                     general-cr-v-discussions/129081-2017-crv-2nd-row-center-seat-
   8                 belt-detachable-anchor-issue.html (last visited July 10, 2018).
   9
              The rear center passenger’s left seat belt buckle anchor is reversed making
  10          it nearly impossible to properly buckle 3 passengers in the back seat. This
              is a safety hazard as my center passengers, finding it a herculean feat
  11
              when seated, often decline to buckle up. . . . [W]hen buckled [without] a
  12          passenger, the belts overlap. Because of this the center passenger’s body
  13
              prevents access to the buckle as it is hidden behind the strap of the left
              rear passenger.. . . .
  14

  15
                     Posted by an anonymous CR-V owner on June 13, 2018 on
                     https://www.vehie.com/complaints/honda?model=cr-v (last
  16                 visited July 10, 2018).
  17
              Seat Belt problem of the 2018 Honda CR-V 8:
  18
              Failure Date: 03/18/2018, Posted by an anonymous CR-V owner
  19
              The rear seat belt anchor is reversed on the center buckle. The anchor is
  20          on the center passenger's left side and the latch on their right. The rear
              driver's side passenger's latch is on their right, but on the far right side of
  21
              the anchor. When a passenger or car seat is belted into the center seat, the
  22          seat belts obstruct each other, and when forced to latch, appear quite
              dangerous.
  23
                     http://www.carproblemzoo.com/honda/cr-v/seat-belt-problems.php
  24

  25
              Seat Belt problem of the 2017 Honda CR-V 20:
  26
              Failure Date: 10/06/2017, Posted by an anonymous CR-V owner
  27
              The left rear and center rear seat belt buckles, are opposite of what they
  28          should be. This arrangement makes it impossible for the left rear
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              passenger, to buckle up if the center seat person is buckled in, or a car seat
   1
              is in place. Contacted my Honda service department and they forwarded
   2          my complaint to the district representative, his response was he is aware
              of the issue but there is no fix for the problem. I did some research and
   3
              found that the Acura rdx is the same platform as the Honda Cr-v. So I
   4          visited the nearest Acura dealership, the seat belt buckle arrangement was
              correct on that Acura rdx. Looks like the anchor point and the buckles are
   5
              exactly the same as the ones that are in my Honda Cr-v. Would be willing
   6          to bet that the Acura seat belt assembly would solve the rear seat belt
              issue on these Honda's, the assembly is only $66.00!
   7
                     http://www.carproblemzoo.com/honda/cr-v/seat-belt-problems.php
   8

   9          56.    Similarly, there are also complaints about this issue on the NHTSA
  10   website:
  11
              NHTSA ID Number: 11033850
  12          Incident Date October 6, 2017
              Consumer Location HOBART, WI
  13
              Vehicle Identification Number 5J6RW2H87HL****
  14

  15                 “The left rear and center rear seat belt buckles, are opposite of what
                     they should be. This arrangement makes it impossible for the left
  16
                     rear passenger, to buckle up if the center seat person is buckled in,
  17                 or a car seat is in place. Contacted my Honda service department
                     and they forwarded my complaint to the district representative, his
  18
                     response was he is aware of the issue but there is no fix for the
  19                 problem. I did some research and found that the Acura RDX is the
                     same platform as the Honda CR-V. So i visited the nearest Acura
  20
                     dealership, the seat belt buckle arrangement was correct on that
  21                 Acura RDX. Looks like the anchor point and the buckles are
                     exactly the same as the ones that are in my Honda CR-V. Would be
  22
                     willing to bet that the Acura seat belt assembly would solve the rear
  23                 seat belt issue on these Honda’s, the assembly is only $66.00! Why
  24
                     should i have to do that when it wasn't my mistake in designing it.
                     .updated 11/09/17 *bf *JS Updated 7/27/18*JB”
  25
              NHTSA ID Number: 11024022
  26          Incident Date May 1, 2017
              Consumer Location FREDERICK, CO
  27          Vehicle Identification Number 2HKRW2H82HH****
  28                 “TL* The contact owns a 2017 Honda CR-V. While attempting to
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                     use the rear passenger side seat belt, it was discovered that in order
   1                 to latch and secure the buckle, the belt had to under lap the rear seat
                     center belt. The issue made it very difficult to lock and unlock the
   2                 seat belt. The vehicle was taken to the dealer (AutoNation Honda in
                     Westminster, CO), but the cause of the failure was unable to be
   3                 determined. The manufacturer was notified of the failure. The
                     failure mileage was 6,000.”
   4

   5          NHTSA ID Number: 10994257
              Incident Date May 13, 2017
   6          Consumer Location LOS ANGELES, CA
   7          Vehicle Identification Number 2HKRW1H8XHH****
   8                 “The rear left and middle seat belts overlap. The vehicle is
   9                 advertised as a 5 seater vehicle but cannot safely be used for 5
                     passengers or with a car seat in either of those seats with a
  10                 passenger in the other one.”
  11

  12          NHTSA ID Number: 10981443
              Incident Date April 27, 2017
  13          Consumer Location RIVERSIDE, MO
              Vehicle Identification Number 2HKRW2H55HH****
  14
                     “Rear passenger seat behind driver and middle passenger seat belt
  15                 fasteners are flipped. No one can sit behind the driver and use a seat
                     belt.”
  16
              NHTSA ID Number: 10968007
  17          Incident Date January 26, 2017
              Consumer Location VERONA, WI
  18          Vehicle Identification Number 5J6RW2H96HL****
  19                 “My brand new 2017 CR-V touring appears to have the detachable
                     anchor for the 2nd row center seat belt crossed with the 2nd row
  20                 left seat belt buckle. This configuration causes the center belt and
                     the left seat belt to cross one another and also makes it difficult for
  21                 the left seat passenger to connect or disconnect their seat belt with
                     the center passenger buckled in. This configuration does not allow
  22                 the person sitting behind the driver to wear their seat belt when my
                     child's infant seat is buckled into the center as the buckle cannot be
  23                 accessed. This is a huge safety concern as i travel frequently with
                     my infant daughter, son, and son's friend in the back seat. There
  24                 have been multiple other complaints about this which can be
                     googled. Something needs to be done here.”
  25
                     https://www.nhtsa.gov/vehicle/2017/HONDA/CR-V/SUV/FWD;
  26
                     https://www.nhtsa.gov/vehicle/2018/HONDA/CR-
  27                 V/SUV/FWD#complaints
  28
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   1          57.    Defendant had knowledge that its misrepresentations and omissions
   2   regarding the 2017 CR-V being a five-seater were misleading and yet continued
   3   to make the same misrepresentations and omissions regarding the 2018 CR-V to
   4   Plaintiffs and the class members, although it is in reality a four seater vehicle.
   5          58.    Defendant’s marketing and advertising practices are clearly meant
   6   to mislead consumers as to the seating capacity and passive safety features of
   7   the CR-V. As a direct and proximate result of Defendant’s conduct, Plaintiffs
   8   and the proposed classes have suffered and continue to suffer injury in fact,
   9   ascertainable loss, and lost money. Defendant, despite having knowledge that
  10   its representations and omissions are misleading to Plaintiffs and the proposed
  11   classes, continues to market and advertise the CR-Vs in a deceptive manner.
  12          59.    Plaintiffs and the proposed classes are at risk of suffering further
  13   injury if the relief sought is not granted.
  14   California Contacts
  15          60.    Defendant is headquartered in Torrance, California, located at 1919
  16   Torrance Boulevard, Torrance, CA 90501.
  17          61.    Defendant does substantial business in California, with a significant
  18   portion of the sales made in California.
  19          62.    California hosts a significant portion of Defendant’s U.S.
  20   operations, including sales and service offices and financial service offices,
  21   among others.
  22          63.    In addition, the conduct that forms the basis for each and every
  23   class member’s claims against Defendant emanated from Defendant’s
  24   headquarters in California and is consistent with directives of Defendant’s
  25   personnel in California.
  26          64.    Defendant’s marketing and advertising personnel are located at its
  27   California headquarters, and the advertising and marketing schemes detailing the
  28
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   1   seating capacity and passive safety features of the CR-V were made and
   2   implemented from there.
   3            65.   Defendant’s California personnel implemented its deceptive
   4   advertising scheme and have refused to repair the seat belt misconfiguration in
   5   Plaintiff’s CR-V.
   6            66.   Defendant’s personnel responsible for communicating with dealers
   7   regarding known problems with defective vehicles are also located at the
   8   California headquarters, and the decision not to inform authorized dealers of the
   9   backseat seat belt buckle misconfiguration was made and implemented from
  10   there.
  11            67.   Defendant has significant contacts with the State of California, and
  12   the conduct at issue herein emanated from California.
  13            68.   As a result of Defendant’s conduct, Plaintiffs and members of the
  14   proposed classes have suffered injury in fact and have otherwise suffered
  15   damages and been harmed and will continue to be harmed in the future unless
  16   Defendant is held accountable through this litigation.
  17            69.   Plaintiffs seek injunctive relief, actual damages, disgorgement of
  18   profits, statutory damages, attorneys’ fees, costs, and all other relief available to
  19   the class, as defined herein.
  20                          CLASS ACTION ALLEGATIONS
  21            70.   Plaintiffs brings this lawsuit, both individually and as a class action,
  22   on behalf of similarly-situated purchasers and lessees of the CR-Vs, pursuant to
  23   Federal Rule of Civil Procedure 23(b)(2) and (3).
  24            71.   Plaintiffs seek to represent the following respective classes defined
  25   as follows:
  26
                Illinois Class (represented by Schepler)
  27            All owners and lessees of Defendant’s model year 2017 and/or 2018 CR-
                Vs in Illinois.
  28
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   1
              California Class (represented by Garcia)
   2          All owners and lessees of Defendant’s model year 2017 and/or 2018 CR-
              Vs in California.
   3
              Excluded from the Illinois Class and California Class (collectively,
   4
       “Classes”) are Defendant, as well as Defendant’s affiliates, employees, officers
   5
       and directors, and the Judge to whom this case is assigned. Plaintiffs reserve
   6
       the right to amend the definition of the Classes if discovery and/or further
   7
       investigation reveal that the Classes should be expanded or otherwise modified.
   8
              72.     Numerosity/Impracticability of Joinder: There are so many
   9
       members of the Class that joinder of all members is impracticable. The reported
  10
       sales of the CR-V in the United States were 377,895 Vehicles in 2017 17 and
  11
       117,951 vehicles for the first five months of 2018. 18 Plaintiffs estimate that
  12
       there are thousands of members in the Class. The members of the Class are
  13
       readily identifiable from information and records in Defendant’s possession,
  14
       custody, or control. The disposition of these claims will provide substantial
  15
       benefits to the members of the Classes.
  16
              73.     Commonality and Predominance: There is a well-defined
  17
       community of interest and common questions of law and fact that predominate
  18
       over any question affecting only individual members of the Classes. These
  19
       common legal and factual questions, which do not vary from members of the
  20
       Classes, and which may be determined without reference to the individual
  21
       circumstances of any members of the Classes, include, but are not limited, to the
  22
       following:
  23
              a)      whether Defendant’s marketing, advertising and promotion of its
  24

  25   17
         See Honda, American Honda Sets 3rd Straight Annual Sales Record with Best-Ever December for
       Trucks,     http://hondanews.com/releases/american-honda-sets-3rd-straight-annual-sales-record-with-
  26   best-ever-december?query=united+states+sales+CR-V+2017 (last visited Oct. 15, 2018).
  27   18
        See Honda, American Honda Sets New June Sales Records on Strength of Light Trucks,
      http://hondanews.com/releases/american-honda-sets-new-june-sales-records-on-strength-of-light-
  28 trucks?query=honda+CR-V+sales+2018 (last visited Oct. 15, 2018).
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                     CR-Vs was false and misleading;
   1
              b)     whether Defendant concealed facts from Plaintiffs and members of
   2                 the Classes about the seating capacity and passive safety features of
                     the CR-Vs;
   3
              c)     whether Defendant knew, or should have known, that its
   4                 representations were false, or that the representations omitted
                     material information;
   5
              d)     whether Defendant’s conduct was a violation of the ICFDBPA;
   6
              e)     whether Defendant’s conduct was a breach of express warranty
   7                 under Illinois law;
   8          f)     whether Defendant’s conduct was a violation of the CLRA;
   9          g)     whether Defendant’s conduct was a violation of the UCL;
  10          h)     whether Defendant’s conduct was a violation of the FAL;
  11          i)     whether Defendant’s conduct was a breach of express warranty
                     under California law;
  12
              j)     whether Defendant’s conduct as alleged herein violates public
  13                 policy; and
  14          k)     whether Plaintiffs and the members of the Classes are entitled to
                     damages, restitution, equitable relief and/or other damages and
  15                 other relief, and, if so, the amount and nature of such relief.
  16
              74.    Typicality and Adequacy: Plaintiffs’ claims are typical of the
  17
       claims of their respective proposed Classes, and Plaintiffs will fairly and
  18
       adequately represent and protect the interests of the proposed Classes. Plaintiffs
  19
       do not have any interests antagonistic to those of their respective Classes.
  20
       Plaintiffs’ counsel are experienced in the prosecution of this type of litigation.
  21
       The questions of law and fact common to the members of the Classes, some of
  22
       which are set out above, predominate over any questions affecting only
  23
       individual members of the Classes.
  24
              75.    Superiority: A class action is superior to all other available
  25
       methods for the fair and efficient adjudication of this controversy. The expense
  26
       and burden of individual litigation would make it impracticable or impossible
  27
       for members of the Classes to prosecute their claims individually. The litigation
  28
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   1   and trial of the Class-wide claims are manageable.
   2          76.    Unless a class is certified, Defendant will improperly retain monies
   3   that it received from Plaintiffs and members of the Classes as a result of its
   4   conduct. Unless Defendant is required to change its unfair and deceptive
   5   practices, it will continue to commit the violations and the members of the
   6   Classes, and the general public, will continue to be misled.
   7          77.    Defendant has acted and refused to act on grounds generally
   8   applicable to the California Class, making appropriate final injunctive relief with
   9   respect to the California Class as a whole.
  10                                        COUNT I
                     Violation of Illinois Consumer Fraud and Deceptive
  11                       Business Practices Act, 815 ILCS 505/2
                                On Behalf of the Illinois Class
  12

  13          78.    Schepler incorporates by reference each and every preceding
  14   paragraph as though fully set forth herein.
  15          79.    The ICFDBPA makes it unlawful to employ:
  16          Unfair methods of competition and unfair or deceptive acts or
  17          practices, including but not limited to the use or employment of any
              deceptive fraud, false pretense, false promise, misrepresentation or
  18          the concealment, suppression or omission of such material fact,
  19          with intent that others rely upon the concealment, suppression or
              omission of such material fact, or the use or employment of any
  20          practice described in Section 2 of the “Uniform Deceptive Trade
  21          Practices Act,” approved August 5, 1965, in the conduct of any
              trade or commerce are hereby declared unlawful whether any
  22          person has in fact been misled, deceived or damage thereby.
  23
              815 ILCS 505/2.
  24

  25          80.    As detailed throughout this Complaint, Defendant misrepresented
  26   that the CR-Vs have a seating capacity of five with 3-point seat belts at all
  27   seating positions, when, in fact, they do not, because if there is one car seat, or if
  28   there are three adult backseat passengers, all three cannot simultaneously buckle
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   1   their seat belts safely without overlapping or twisting at least one of the seat
   2   belts, in direct contradiction to Defendant’s marketing and advertisements.
   3          81.    Defendant violated Section 505/2 of the ICFDBPA by
   4   misrepresenting the efficacy of the passive safety features in the CR-Vs.
   5   Defendant made the misrepresentations and omissions described throughout this
   6   Complaint with the intent that Schepler and the Illinois Class rely on them and
   7   purchase or lease the CR-Vs.
   8          82.    Schepler and the Illinois Class were damaged by Defendant’s
   9   violation and would not have purchased or leased the CR-Vs, or would not have
  10   paid the purchase price they did, had the facts been known.
  11                                     COUNT II
                       Breach of Express Warranty Under Illinois Law
  12                           On Behalf of the Illinois Class
  13
              83.    Schepler incorporates by reference each and every preceding
  14
       paragraph as though fully set forth herein.
  15
              84.    As an express warrantor, manufacturer, and merchant, Defendant
  16
       had certain obligations pursuant to its warranty to repair and replace defects. 818
  17
       ILCS 5/2-312 to 5/2-318.
  18
              85.    Defendant expressly warranted the seat belts, under the Seat Belt
  19
       Limited Warranty, promising to repair or replace components that fail to
  20
       function properly during normal use, for 15 years or 150,000 miles and that
  21
       warranty also states that “Honda believes that the best way to enhance your
  22
       safety is to use your seat belt.”
  23
              86.    However, Honda sells its CR-V knowing that if there is a car seat in
  24
       the rear, there cannot be two others safely buckled in seat belts as warranted by
  25
       Honda so that the Schepler and Illinois Class members are deprived of one of
  26
       the warranted safety features of the CR-V.
  27
  28
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   1          87.    The unsafe backwards configuration of the backseat seat belts at
   2   issue in this litigation was present at the time of sale and/or lease to Schepler
   3   and members of the Illinois Class.
   4          88.    Defendant breached its warranties (and continues to breach its
   5   warranties) because it wrongfully, uniformly, and repeatedly refuses to repair
   6   the CR-V’s backseat seat belt, forcing Schepler and the members of the Illinois
   7   Class to either only seat a maximum of two backseat passengers in their CR-Vs
   8   simultaneously, or risk (in violation of Honda’s own warnings) the safety of
   9   their passengers by having two of their backseat passengers use twisted, caught
  10   or overlapping seat belts.
  11          89.    Schepler and the Illinois Class members used their CR-Vs in a
  12   manner consistent with their intended use and performed each and every duty
  13   required under the terms of the warranty including presentment, except as may
  14   have been excused or prevented by the conduct of Defendant or by operation of
  15   law in light of Defendant’s unconscionable conduct described throughout this
  16   Complaint.
  17          90.    Defendant received timely notice regarding the problems at issue in
  18   this litigation and, notwithstanding such notice, has failed and refused to offer an
  19   effective remedy.
  20          91.    In addition, upon information and belief, Defendant received
  21   numerous complaints, notice of the need for repair and resulting safety issue,
  22   and requests for warranty repairs and coverage from other members of the Class.
  23          92.    In its capacity as a supplier and/or warrantor, and by the conduct
  24   described herein, any attempt by Defendant to disclaim or otherwise limit its
  25   express warranties in a manner that would exclude or limit coverage for the seat
  26   belt defect that was present as of the time of sale, which Defendant knew about
  27   prior to offering the CR-Vs for sale, and which Defendant did not disclose and
  28
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   1   did not remedy prior to sale (or afterward), is unconscionable, and Defendant
   2   should be estopped from pursuing such defenses.
   3          93.    Further, any such effort by Defendant to disclaim or otherwise limit
   4   liability for the defect is null and void because Defendant and its authorized
   5   agents, the dealers, have wrongfully, uniformly, and repeatedly refused and
   6   failed to properly repair or replace the seat belt buckles.
   7          94.    As such, Defendant should be estopped from disclaiming liability
   8   for its actions.
   9          95.    Accordingly, Schepler and the Illinois Class members have suffered
  10   damages caused by Defendant’s breach of the warranty and are entitled to
  11   recover damages as set forth herein.
  12
                                          COUNT III
  13                      Violation of Consumers Legal Remedies Act
                              California Civil Code § 1750, et seq.
  14                           On Behalf of the California Class
  15          96.    Garcia incorporates by reference each and every preceding
  16   paragraph as though fully set forth herein.
  17          97.    This cause of action is brought under the CLRA. Garcia and
  18   members of the California Class are consumers as defined by California Civil
  19   Code § 1761(d), and the CR-Vs constitute goods within the meaning of the
  20   CLRA.
  21          98.    Defendant violated and continues to violate the CLRA by engaging
  22   in the following deceptive practices proscribed by California Civil Code
  23   § 1770(a) in connection with transactions intended to result in, and that did
  24   result in, the sale of the CR-Vs to Garcia and members of the California Class in
  25   violation of, inter alia, the following provisions:
  26                 a)      Representing that the goods have characteristics, uses, or
  27          benefits which they do not have (Cal. Civ. Code § 1770(a)(5));
  28                 b)      Representing that the goods are of a particular standard,
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   1          quality, or grade if they are of another (Cal. Civ. Code § 1770(a)(7));
   2                 c)      Advertising goods with the intent not to sell them as
   3          advertised (Cal. Civ. Code § 1770(a)(9));
   4                 d)      Representing that a transaction involves rights, remedies, or
   5          obligations that it does not have or involve (Cal. Civ. Code §
   6          1770(a)(14)); and
   7                 e)      Representing that the goods have been supplied in
   8          accordance with a previous representation when they have not (Cal. Civ.
   9          Code § 1770(a)(16)).
  10          99.    Garcia and other California Class members, in purchasing and
  11   using the CR-Vs, did reasonably act in response to Defendant’s above
  12   representations or would have considered the omitted facts set forth herein
  13   material to their purchasing decision. Garcia and the other members of the
  14   California Class have suffered damages by the wrongful acts and practices of
  15   Defendant that are in violation of California Civil Code § 1781.
  16          100. The representations regarding the CR-Vs were material to Garcia
  17   and members of the California Class. Defendant intended that Garcia and
  18   California Class members would rely on these representations and they did, in
  19   fact, rely on the representations.
  20          101. In accordance with California Civil Code § 1780(a), Garcia and the
  21   members of the California Class seek injunctive relief for Defendant’s violations
  22   of the CLRA.
  23          102. In accordance with California Civil Code §§ 1782(a) and (d),
  24   Garcia has provided Defendant with the appropriate notice and demand, but
  25   Defendant has denied the existence of a defect and refused to provide any relief
  26   to Garcia or the members of the California Class.
  27          103. Garcia seeks for himself and the California Class compensatory and
  28   punitive damages under the CLRA and also to recover attorneys’ fees and costs
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   1   pursuant to California Civil Code §§ 1780 and 1781.
   2

   3

   4
                                        COUNT IV
   5                  False and Misleading Advertising in Violation of
                  California Business and Professions Code, § 17500, et seq.
   6                          On Behalf of the California Class
   7          104. Garcia incorporates by reference each and every preceding
   8   paragraph as though fully set forth herein.
   9          105. Defendant’s acts and practices as described herein have deceived
  10   and/or are likely to deceive members of the California Class and the public. As
  11   detailed throughout this Complaint, Defendant misrepresented that the CR-Vs
  12   have a seating capacity of five with 3-point seat belts at all seating positions,
  13   when, in fact, they do not, because if there is one car seat, or if there are three
  14   adult backseat passengers, all three cannot simultaneously buckle their seat belts
  15   safely without overlapping or twisting at least one of the seat belts, in direct
  16   contradiction to Defendant’s marketing and advertisements.
  17          106. By its actions, Defendant has and continues to disseminate uniform
  18   false advertising concerning the CR-Vs, which advertisements, by their nature,
  19   are unfair, deceptive, untrue, or misleading within the meaning of the FAL.
  20   Such advertisements are likely to deceive, and continue to deceive, the
  21   consuming public for the reasons detailed above.
  22          107. The above-described false, misleading, and deceptive advertising
  23   Defendant disseminated continues to have the likelihood to deceive in that
  24   Defendant has failed to disclose the true and actual nature of the CR-Vs.
  25   Defendant has failed to initiate a public information campaign to alert
  26   consumers of the CR-Vs’ true nature, which continues to create a misleading
  27   perception of the CR-Vs and their advertised safety features.
  28          108. In making and disseminating the statements alleged herein,
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   1   Defendant should have known its advertisements were untrue and misleading, in
   2   violation of the FAL. Garcia and the California Class members based their
   3   decisions to purchase the CR-Vs, in substantial part, on Defendant’s
   4   misrepresentations and omissions regarding the true nature of the seating
   5   capacity and safety features of the CR-Vs. The revenues to Defendant
   6   attributable to the CR-Vs sold using those false and misleading advertisements
   7   amount to substantial monies paid for the vehicles. Garcia and the California
   8   Class were injured in fact and lost money as a result.
   9          109. Defendant intended for Garcia and California Class members to
  10   rely on these representations and omissions and Garcia and California Class
  11   members consequently did rely on Defendant’s misrepresentations and
  12   omissions.
  13          110. The misrepresentations and non-disclosures by Defendant of the
  14   material facts detailed above constitute false and misleading advertising and,
  15   therefore, are violations of the FAL.
  16          111. As a result of Defendant’s wrongful conduct, Garcia and California
  17   Class members request that this Court enjoin Defendant from continuing to
  18   violate the FAL. Such conduct is ongoing and continues to this date. Garcia
  19   and the California Class are, therefore, entitled to the relief described below as
  20   appropriate for this cause of action.
  21                                   COUNT V
            Unlawful, Unfair, and Fraudulent Business Practices in Violation of
  22            California Business and Professions Code § 17200, et seq.
                            On Behalf of the California Class
  23
              112. Garcia incorporates by reference each and every preceding
  24
       paragraph as though fully set forth herein.
  25
              113. The UCL defines unfair competition to include any “unfair,”
  26
       “unlawful,” or “fraudulent” business act or practice.
  27
              114. Defendant violated, and continues to violate, the UCL by
  28
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   1   misrepresenting the CR-Vs as have a seating capacity of five with 3-point seat
   2   belts at all seating positions, when, in fact, they do not, because if there is one
   3   car seat, or if there are three adult backseat passengers, all three cannot
   4   simultaneously buckle their seat belts safely without overlapping or twisting at
   5   least one of the seat belts, in direct contradiction to Defendant’s marketing and
   6   advertisements.
   7          115. By engaging in the above-described acts and practices, Defendant
   8   has committed an unfair business practice within the meaning of the UCL.
   9   Consumers have suffered substantial injury they could not reasonably have
  10   avoided other than by not purchasing the CR-Vs.
  11          116. Defendant’s acts and practices have deceived and/or are likely to
  12   deceive California Class members and the public and thus constitute a
  13   fraudulent business practice. Defendant uniformly marketed and advertised CR-
  14   Vs as having a seating capacity of five and having 3-point seat belts at all
  15   seating positions, when, in fact, they do not, because all three backseat
  16   passengers cannot simultaneously buckle their seat belts safely without
  17   overlapping or twisting at least one of the seat belts, despite the fact that
  18   Defendant knew, or should have known, of the configuration of the CR-Vs’ seat
  19   belt buckles.
  20          117. As discussed above, Garcia and the members of the California
  21   Class purchased CR-Vs directly from Defendant and/or its authorized agents.
  22   Garcia and members of the California Class were injured in fact and lost money
  23   as a result of such acts of unfair competition.
  24          118. The injuries suffered by Garcia and California Class members are
  25   greatly outweighed by any potential countervailing benefit to consumers or to
  26   competition, nor are they injuries that Garcia and California Class members
  27   should have or could have reasonably avoided.
  28          119. Defendant received the funds paid by Garcia and the members of
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   1   the California Class. Defendant profited by misrepresenting the properties of
   2   the CR-Vs that it otherwise would not have sold. Defendant’s revenues
   3   attributable thereto are, thus, directly traceable to the substantial dollars paid out
   4   by Garcia and the California Class for the CR-Vs.
   5          120. Unless Defendant is enjoined from continuing to engage in the
   6   unlawful, unfair, and fraudulent business acts and practices as described herein,
   7   which conduct is ongoing, Garcia and the California Class will continue to be
   8   injured by Defendant’s conduct.
   9          121. Defendant, through its acts of unfair competition, has acquired
  10   money from the California Class members. Garcia and the California Class
  11   request this Court to enjoin Defendant from continuing to violate the UCL.
  12          122. The unlawful, unfair, and fraudulent conduct described herein is
  13   ongoing and continues to this date. Garcia and the California Class, therefore,
  14   are entitled to relief described below as appropriate for this cause of action.
  15
                                        COUNT VI
  16                 Breach of Express Warranty Under California Law
                             On Behalf of the California Class
  17

  18          123. Garcia incorporates by reference each and every preceding
  19   paragraph as though fully set forth herein.
  20          124. As an express warrantor, manufacturer, and merchant, Defendant
  21   had certain obligations pursuant to its warranty to repair and replace defects.
  22   Cal. Com. Code § 2313.
  23          125. Defendant expressly warranted the seat belts, under the Seat Belt
  24   Limited Warranty, promising to repair or replace components that fail to
  25   function properly during normal use, for 15 years or 150,000 miles and that
  26   warranty also states that “Honda believes that the best way to enhance your
  27   safety is to use your seat belt.”
  28          126. However, Honda sells its CR-V knowing that if there is a car seat in
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   1   the rear, there cannot be two others safely buckled in seat belts as warranted by
   2   Honda so that the Garcia and the California Class members are deprived of one
   3   of the warranted safety features of the CR-V.
   4          127. The unsafe backwards configuration of the backseat seat belts at
   5   issue in this litigation was present at the time of sale and/or lease to Garcia and
   6   members of the California Class.
   7          128. Defendant breached its warranties (and continues to breach its
   8   warranties) because it wrongfully, uniformly, and repeatedly refuses to repair
   9   the CR-V’s backseat seat belt, forcing Garcia and the members of the California
  10   Class to either only seat a maximum of two backseat passengers in their CR-Vs
  11   simultaneously, or risk (in violation of Honda’s own warnings) the safety of
  12   their passengers by having two of their backseat passengers use twisted, caught
  13   or overlapping seat belts.
  14          129. Garcia and the California Class members used their CR-Vs in a
  15   manner consistent with their intended use and performed each and every duty
  16   required under the terms of the warranty including presentment, except as may
  17   have been excused or prevented by the conduct of Defendant or by operation of
  18   law in light of Defendant’s unconscionable conduct described throughout this
  19   Complaint.
  20          130. Defendant received timely notice regarding the problems at issue in
  21   this litigation and, notwithstanding such notice, has failed and refused to offer an
  22   effective remedy.
  23          131. In addition, upon information and belief, Defendant received
  24   numerous complaints, notice of the need for repair and resulting safety issue,
  25   and requests for warranty repairs and coverage from other members of the Class.
  26          132. In its capacity as a supplier and/or warrantor, and by the conduct
  27   described herein, any attempt by Defendant to disclaim or otherwise limit its
  28   express warranties in a manner that would exclude or limit coverage for the seat
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   1   belt defect that was present as of the time of sale, which Defendant knew about
   2   prior to offering the CR-Vs for sale, and which Defendant did not disclose and
   3   did not remedy prior to sale (or afterward), is unconscionable, and Defendant
   4   should be estopped from pursuing such defenses.
   5          133. Further, any such effort by Defendant to disclaim or otherwise limit
   6   liability for the defect is null and void because Defendant and its authorized
   7   agents, the dealers, have wrongfully, uniformly, and repeatedly refused and
   8   failed to properly repair or replace the seat belt buckles.
   9          134. As such, Defendant should be estopped from disclaiming liability
  10   for its actions.
  11          135. Accordingly, Garcia and the California Class members have
  12   suffered damages caused by Defendant’s breach of the warranty and are entitled
  13   to recover damages as set forth herein.
  14
                                    PRAYER FOR RELIEF
  15
              WHEREFORE, Plaintiffs, on behalf of himself and members of the
  16
       proposed Class, prays for judgment as follows:
  17
                     a)      Certification of the Illinois Class under Federal Rule of Civil
  18                         Procedure 23 and appointment of Schepler as representative
                             of the Illinois Class and his counsel as class counsel;
  19
                     b)      Certification of the California Class under Federal Rule of
  20                         Civil Procedure 23 and appointment of Garcia as
                             representative of the California Class and his counsel as class
  21                         counsel;
  22                 c)      Compensatory and other damages for economic and non-
                             economic damages;
  23
                     d)      Awarding restitution and disgorgement of Defendant’s
  24                         revenues or profits to Plaintiffs and the members of the
                             proposed Classes;
  25
                     e)      An Order requiring Defendant to cease and desist from
  26                         engaging in the alleged wrongful conduct and to engage in a
                             corrective advertising campaign;
  27
  28
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                     f)      Statutory pre-judgment and post-judgment interest on any
   1                         amounts;
   2                 g)      Payment of reasonable attorneys’ fees and recoverable
                             litigation expenses as may be allowable under applicable
   3                         law; and
   4                 h)      Such other relief as the Court may deem just and proper.
   5
                                           JURY DEMAND
   6

   7          Plaintiffs demand a trial by jury on all causes of action so triable.
   8
       Dated: August 9, 2019                     Respectfully submitted,
   9
                                                 By: /s/Kolin C. Tang_______
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